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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF SOUTH CAROLINA
                            CHARLESTON DIVISION


SOUTH CAROLINA COASTAL                       )
CONSERVATION LEAGUE, CHARLESTON              )
WATERKEEPER, AMERICAN RIVERS,                )
CHATTAHOOCHEE RIVERKEEPER,                   )
CLEAN WATER ACTION, DEFENDERS                )
OF WILDLIFE, FRIENDS OF THE                  )
RAPPAHANNOCK, NORTH CAROLINA                 )
COASTAL FEDERATION, and NORTH                )
CAROLINA WILDLIFE FEDERATION,                )
                                             )
                       Plaintiffs,           )    Case No. 2:18-cv-330-DCN
                                             )
v.                                           )
                                             )
E. SCOTT PRUITT, in his official capacity as )
Administrator of the U.S. Environmental      )
Protection Agency; the U.S.                  )
ENVIRONMENTAL PROTECTION                     )
AGENCY; R.D. JAMES, in his official          )
capacity as Assistant Secretary of the Army  )
for Civil Works; and the U.S ARMY            )
CORPS OF ENGINEERS,                          )
                                             )
                       Defendants,           )
                                             )
and                                          )
                                             )
AMERICAN FARM BUREAU FEDERATION, )
AMERICAN FOREST & PAPER                      )
ASSOCIATION, AMERICAN PETROLEUM )
INSTITUTE, AMERICAN ROAD AND                 )
TRANSPORTATION BUILDERS                      )
ASSOCIATION, LEADING BUILDERS OF             )
AMERICA, MATAGORDA COUNTY FARM )
BUREAU, NATIONAL ALLIANCE OF                 )
FOREST OWNERS, NATIONAL                      )
ASSOCIATION OF HOME BUILDERS,                )
NATIONAL ASSOCIATION OF                      )
MANUFACTURERS, NATIONAL                      )
CATTLEMEN'S BEEF ASSOCIATION,                )
NATIONAL CORN GROWERS                        )
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ASSOCIATION, NATIONAL MINING             )
ASSOCIATION, NATIONAL PORK               )
PRODUCERS COUNCIL, NATIONAL              )
STONE, SAND AND GRAVEL                   )
ASSOCIATION, PUBLIC LANDS                )
COUNCIL, TEXAS FARM BUREAU,              )
U.S. POULTRY & EGG ASSOCIATION           )
                                         )
                  Intervenor-Defendants. )
_______________________________________ )


       The parties have consulted and agreed upon proposed deadlines in this case and

respectfully request the Court to enter the following schedule:

           •   May 16/18, 2018:       The U.S. shall file the Administrative Record.

           •   May 25, 2018:          Plaintiffs shall file their motion for summary judgment.

           •   June 22, 2018:         The U.S. shall file its response/cross-motion for
                                      summary judgment.

           •   July 6, 2018:          Intervenors shall file their brief supporting the U.S.

           •   July 20, 2018:         Plaintiffs shall file their response/reply brief.

           •   August 10, 2018:       The U.S. shall file its reply brief.



       Respectfully submitted this 15th day of May, 2018.


Frank S. Holleman III                                 /s/ J. Blanding Holman IV
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